Case 6:16-cv-00066-RWS-JDL Document 97 Filed 02/05/18 Page 1 of 1 PageID #: 1554



                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                      TYLER DIVISION

  MARY LINEHAN,                                     §
                                                    §
                                                    §      CIVIL ACTION NO. 6:16-CV-00066-RWS
                   Plaintiff,                       §
                                                    §
  v.                                                §
                                                    §
  UNIVERSITY OF TEXAS AT TYLER,                     §
       .                                            §
                                                    §
                   Defendant.                       §

                                          FINAL JUDGMENT

           Pursuant to the Order Adopting Report and Recommendation of United States Magistrate

  Judge entered on this same date, it is hereby ORDERED that the above-entitled action be

  DISMISSED WITH PREJUDICE, and final judgment be entered in this case.

           Any motions by either party not previously granted are hereby DENIED.

           The Clerk of the Court is directed to close this case.

           SIGNED this 5th day of February, 2018.



                                                               ____________________________________
                                                               ROBERT W. SCHROEDER III
                                                               UNITED STATES DISTRICT JUDGE
